Case 1:21-cr-00080-AMD Document 68 Filed 02/25/23 Page 1 of 1 PageID #: 1116

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
EDP                                                271 Cadman Plaza East
F. #2018R02250                                     Brooklyn, New York 11201


                                                   February 25, 2023

By Hand Delivery and ECF

The Hon. Nicholas Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Douglass Mackey
                       Criminal Docket No. 21-80 (NGG)

Dear Judge Garaufis:

               Enclosed please find a signed expert disclosure and documents demonstrating
applicable credentials, provided in accordance with Rule 16(a)(1)(G) of the Federal Rules of
Criminal Procedure and to supplement the government’s February 15, 2023 submission (ECF
Dkt. No. 62). The government reserves the right to supplement or correct this disclosure if
appropriate. See Fed. R. Crim. P. 16(a)(1)(G)(vi). The government also requests reciprocal
discovery from the defendant pursuant to Rule 16(b)(1)(C) of the Federal Rules of Criminal
Procedure.
                                                   Very truly yours,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:    /s/ Erik D. Paulsen
                                                   Erik D. Paulsen
                                                   F. Turner Buford
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

                                                   William J. Gullotta
                                                   Trial Attorney
                                                   (202) 514-1412

Enclosure
cc:    Clerk of the Court (NGG) (by ECF)
